Case 8:90-cr-00132-CEH-MRM Document 1208 Filed 04/26/22 Page 1 of 12 PageID 3511
Case 8:90-cr-00132-CEH-MRM Document 1208 Filed 04/26/22 Page 2 of 12 PageID 3512
Case 8:90-cr-00132-CEH-MRM Document 1208 Filed 04/26/22 Page 3 of 12 PageID 3513
Case 8:90-cr-00132-CEH-MRM Document 1208 Filed 04/26/22 Page 4 of 12 PageID 3514
Case 8:90-cr-00132-CEH-MRM Document 1208 Filed 04/26/22 Page 5 of 12 PageID 3515
Case 8:90-cr-00132-CEH-MRM Document 1208 Filed 04/26/22 Page 6 of 12 PageID 3516
Case 8:90-cr-00132-CEH-MRM Document 1208 Filed 04/26/22 Page 7 of 12 PageID 3517
Case 8:90-cr-00132-CEH-MRM Document 1208 Filed 04/26/22 Page 8 of 12 PageID 3518
Case 8:90-cr-00132-CEH-MRM Document 1208 Filed 04/26/22 Page 9 of 12 PageID 3519
Case 8:90-cr-00132-CEH-MRM Document 1208 Filed 04/26/22 Page 10 of 12 PageID 3520
Case 8:90-cr-00132-CEH-MRM Document 1208 Filed 04/26/22 Page 11 of 12 PageID 3521
Case 8:90-cr-00132-CEH-MRM Document 1208 Filed 04/26/22 Page 12 of 12 PageID 3522
